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                                                                                   FILED
                                                                              January 29, 2025
                                                                            CLERK, U.S. DISTRICT COURT
                                                                            WESTERN DISTRICT OF TEXAS

                                                                                  Erika Gonzalez
                                                                         BY: ________________________________
                                                                                                 DEPUTY




                                                                EP-25-M-397-RFC




Complaint sworn to telephonically on
   January 29, 2025
____________        at __________
                          01:05 PM and signed
electronically. FED.R.CRIM.P. 4.1(b)(2)(A)
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